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                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                         )       CHAPTER 13
PATRICIA RENEE WEST                            )       CASE: A17-60670-CRM
                                               )
                                               )
                 DEBTOR                        )

            CHAPTER 13 TRUSTEE’S OBJECTION TO CONFIRMATION
                       AND MOTION TO DISMISS CASE

       COMES NOW, Nancy J. Whaley, the Standing Chapter 13 Trustee herein, and
objects to Confirmation of the plan for the following reasons:

                                              1.

        The Debtor's payments under the proposed plan are not current, thus indicating that
this plan is not feasible. 11 U.S.C. Section 1325(a)(6).

                                              2.

      The plan as proposed will extend to sixty-six (66) months, which exceeds the sixty
(60) months allowed by 11 U.S.C. Section 1322(d).

                                              3.

       The Chapter 13 Trustee is unable to determine the feasibility of the Debtor’s
Chapter 13 plan because Internal Revenue Service records indicate tax returns have not
been filed for the period ending December 31, 2016. The failure to file tax returns for the
four (4) year period prior to the filing of the bankruptcy case is in violation of 11 U.S.C.
Section 1308.

                                              4.

       The Debtor has failed to provide to the Trustee a copy of the last tax return filed
with Internal Revenue Service in violation of 11 U.S.C. Section 521(e)(2)(A).
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                                             5.

        The Debtor's Schedule I reflects a contribution from her son of $250.00 per month.
The Trustee requests documentation regarding this contribution, including, but not limited
to, a notarized affidavit executed by the contributor which states the date the contribution
began and how long it is expected to continue. If the contribution is from rental income, the
Trustee requests documentation such as a copy of the written lease or a notarized affidavit
from the lessee. 11 U.S.C. Section 1325(a)(6).

                                             6.

       The funding of post-petition mortgage installments of $685.00 have not been
maintained in the above-styled Chapter 13 case, thereby rendering the proposed plan
infeasible in violation of 11 U.S.C. Section 1325(a)(6).

                                             7.

       The Chapter 13 plan proposes to pay $4,500.00 to the Debtor’s attorney for
payment of attorney fees. The Trustee is unable to determine whether this is a reasonable
fee and requests that Debtor's counsel appear at Confirmation and be prepared to present
evidence to the Court regarding the reasonableness of the requested fee.

      WHEREFORE, the Trustee moves the Court to inquire into the above objections,
deny Confirmation of the Debtor’s plan, and to dismiss the case.

This the 2nd day of August, 2017.
                                         Respectfully submitted,

                                         /s/__________________________________
                                         Maria C. Joyner
                                         Attorney for the Chapter 13 Trustee
                                         State Bar No. 118350
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                             CERTIFICATE OF SERVICE


Case No: A17-60670-CRM

This is to certify that I have this day served the following with a copy of the foregoing
Chapter 13 Trustee's Objection To Confirmation And Motion To Dismiss Case by
depositing in the United States mail a copy of same in a properly addressed envelope with
adequate postage thereon.


Debtor(s)
PATRICIA RENEE WEST
6121 RADFORD DRIVE
RIVERDALE, GA 30296



By Consent of the parties, the following have received an electronic copy of the
foregoing Chapter 13 Trustee's Objection To Confirmation And Motion To Dismiss Case
through the Court's Electronic Case Filing system.

Debtor(s) Attorney:
KING & KING LAW LLC
karen.king@kingkingllc.com




This the 2nd day of August, 2017.


/s/__________________________________
Maria C. Joyner
Attorney for the Chapter 13 Trustee
State Bar No. 118350
303 Peachtree Center Avenue, NE
Suite 120
Atlanta, GA 30303
